                   Case: 1:14-cr-00118-MRB Doc #: 112 Filed: 02/11/16 Page: 1 of 7 PAGEID #: 403


AO245B (Rev. 10/15) Judgment inaCriminal Case
         Sheet I




                                        United States District Court
                                                 SOUTHERN Districtof OHIO (Cincinnati)
              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                  v.


                                                                                  Case Number:               1:14cr118-2
                       Christopher Gulley
                                                                                  USM Number:                72765-061

                                                                                  Richard Smith-Monahan, Esq.
                                                                                  Defendant's Attorney
THE DEFENDANT:
1%) pleaded guilty to count(s)     I ofa Superseding Information
l~l pleaded nolo contendere to count(s)
   which was accepted by the court.
I~l was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended         Count
18 USC 922(g)(3) and             Possession of a Firearm by a Prohibited Person                                6/26/2014
924(a)(2)




       The defendant is sentenced as provided in pages 2 through              7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[*~| The defendant has been found not guilty on count(s)
E| Count(s) 1-5 ofthe Indictment                      • is      |3 are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to
payrestitution, the defendant mustnotify the court and United States attorney of material changes in economic circumstances.

                                                                      2/10/2016
                                                                      Date of Imposition of Judgment



                                                                     ^^^^
                                                                      Signature of Judge




                                                                      Michael R. Barrett. United States District Judge
                                                                      Name and Title of Judge


                                                                                                             wfc
                                                                      T3ate                 W            T
                   Case: 1:14-cr-00118-MRB Doc #: 112 Filed: 02/11/16 Page: 2 of 7 PAGEID #: 404

A0245B (Rev. 10/15) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                        Judgment—Page    2    of
 DEFENDANT:                   Christopher Gulley
CASE NUMBER:                  l:14crl!8-2



                                                             IMPRISONMENT

          The defendant is hereby committed to thecustody of theUnited States Bureau of Prisons to be imprisoned for a
total term of:
Count 1 of Superseding Information: thirty(30) monthswith credit for time served.




      i~l The court makes the following recommendations tothe Bureau of Prisons:




      El The defendant isremanded to the custody of the United States Marshal.

      [~| The defendant shall surrender tothe United States Marshal for this district:
          •   at                                 • a.m.       • p.m.         on
          a   as notified by the United States Marshal.

      •   The defendant shall surrender for service of sentence at the institution designated bythe Bureau of Prisons:
          [~1 before 2 p.m. on                                          .
          Q as notified bythe United States Marshal.
          Q as notified bythe Probation or Pretrial Services Office.


                                                                   RETURN

 1have executed this judgment as follows:




           Defendant delivered on      ^___                                              t0
 at                                                , witha certified copyof thisjudgment.

                                                                                                   UNITED STATES MARSHAL




                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
                        Case: 1:14-cr-00118-MRB Doc #: 112 Filed: 02/11/16 Page: 3 of 7 PAGEID #: 405

AO 24SB (Rev. 10/15)Judgmentin a Criminal Case
        Sheet 3 — Supervised Release

                                                                                                                   Judgment—Page          3      of            7
DEFENDANT:                      ChristopherGulley
CASE NUMBER:                    l:14cr!18-2


                                                              SUPERVISED RELEASE

Uponrelease from imprisonment, the defendant shall be on supervised release for a termof:
Count 1 of Superseding Information: three (3) years.
            The defendant mustreport to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendantshall not unlawfully possessa controlledsubstance. The defendantshallrefrain from any unlawful use of a controlledsubstance. The
defendantshall submit to one drug test within IS days of release from imprisonmentand at leasttwo periodic drug tests thereafter, as determined by the
court.

 r—l The abovedrugtestingcondition is suspended, basedon the court's determination thatthe defendant posesa low risk of
'—' future substance abuse. (Check, ifapplicable.)
E| The defendant shall not possess afirearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
 E| The defendant shall cooperate in the collection ofDNA as directed bythe probation officer. (Check, ifapplicable.)
         The defendant shallcomply with the requirements of the Sex Offender Registration and NotificationAct (42 U.S.C. § 16901, el seq.) as directed by the
 I | probation officer, the Bureau ofPrisons, orany state sex offender registration agency in which he or she resides, works, isastudent, or was convicted
         of a qualifying offense. (Check, ifapplicable.)

 I | The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
             If thisjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant payin accordance with the Schedule of
 Payments sheet of this judgment.
             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
   1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2) thedefendant shall report to the probation officer in a manner and frequency directed by thecourt or probation officer;
   3)      thedefendant shall answer truthfully all inquiries by the probation officer and follow theinstructions of the probation officer;
   4)      the defendant shall support his or her dependents andmeet other familyresponsibilities;
   5) the defendant shall work regularly ata lawful occupation, unless excused bythe probation officer for schooling, training, orother acceptable reasons;
   6)      thedefendant shall notifythe probation officer atleast tendays prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall notpurchase, possess, use, distribute, oradminister any controlled substance orany
           paraphernalia related to anycontrolled substances, except asprescribed by a physician;
   8)      thedefendant shall notfrequent places where controlled substances are illegally sold, used, distributed, oradministered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
           granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her atany time athome orelsewhere and shall permit confiscation of any contraband
           observed in plainview of the probation officer,
  11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned byalaw enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission ofthe
           court; and
   13)     as directed bythe probation officer, the defendant shall notify third parties of risks that may be occasioned bythe defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
           such notification requirement.
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AO 245B (Rev. 10/15) Judgment in aCriminal Case
           Sheet 3A — Supervised Release

                                                                                                     Judgment—Page       4       of        7
DEFENDANT:                   Christopher Gulley
CASE NUMBER:                 l:14crll8-2


                                           ADDITIONAL SUPERVISED RELEASE TERMS

1.)        The defendant shall participate in a workforce development program as directed bythe Probation Officer, if not legitimately
employed.

2.)        The defendant shall participate ina Cognitive Behavioral Modification Program, such as MRT, atthe direction oftheProbation
Officer.


3.)        The defendant shall participate ina program of testing and treatment for alcohol and controlled substance abuse, as directed by the
Probation Officer, until such time as the defendant is released from the program by the probation office. The defendant will make a co-
payment for treatment services notto exceed S25 permonth, which is determined by the defendant's ability to pay.
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AO 24SB (Rev. 10/15)Judgmentin a Criminal Case
          Sheet5 — Criminal Monetary Penalties

                                                                                                          Judgment — Page        5       of      7
 DEFENDANT:                        Christopher Gulley
 CASE NUMBER:                       l:14cr!18-2


                                                  CRIMINAL MONETARY PENALTIES

     The defendant must pay thetotal criminal monetary penalties under theschedule of payments onSheet 6.

                       Assessment                                            Fine                              Restitution
TOTALS             $ 100.00                                              S                                 $

• The determination ofrestitution is deferred until                      .An Amended Judgment in a Criminal Case(A0245C) will be entered
     after such determination.

Q The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(f), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                    Total Loss*                        Restitution Ordered                      Priority or Percentage




TOTALS


|~| Restitution amount ordered pursuant to plea agreement $

|~| The defendant must pay interest onrestitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day afterthe dateofthe judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe paymentoptions on Sheet 6 may be subject
      to penalties for delinquency and default, pursuantto 18 U.S.C. § 3612(g).

•     The court determined that the defendant does not have the ability to pay interest and it isordered that:
      |~~| the interest requirement iswaived for the           fj fine       Q restitution.
      •     the interest requirement for the        Q fine      •    restitution ismodified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13,1994, but before April 23, 1996.
                  Case: 1:14-cr-00118-MRB Doc #: 112 Filed: 02/11/16 Page: 6 of 7 PAGEID #: 408
AO 245B (Rev. 10/15)Judgment in a Criminal Case
        Sheet 6 — Scheduleof Payments

                                                                                                             Judgment — Page        6       of       7_
DEFENDANT:                  ChristopherGulley
CASE NUMBER:                 l:14crll8-2


                                                      SCHEDULE OF PAYMENTS

Having assessed thedefendant's ability to pay, payment of thetotal criminal monetary penalties isdue as follows:
A El Lump sum payment of$ 100.00                              due immediately, balance due
            |~| not later than __^                                ,or
            E| in accordance       fj C, • D, ^| E,or            g| Fbelow; or
B •         Payment to begin immediately (may be combined with • C,   O D,     • Fbelow); or
C Q Payment in equal                              (e.g., -weekly, monthly, quarterly) installments of $                          over aperiod of
                           (e.g., months oryears), to commence                    (e.g., 30 or60days) after the date of this judgment; or
D [J Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over aperiod of
                         (e.g., months oryears), to commence                      (e.g., 30 or60days) after release from imprisonmentto a
           term of supervision; or
E     El Payment during the term ofsupervised release will commence within                     30         (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the paymentplan based on an assessment ofthe defendant's ability to pay at that time; or

F     £3 Special instructions regarding the payment ofcriminal monetary penalties:
            While incarcerated, if the Defendant is working in a non-UNlCOR or Grade 5 UN1COR job, the Defendant shall pay$25.00 per
           quarter toward his fine obligation. If working in a Grade 1 to 4 UNICORjob, the Defendantshall pay 50% of his monthly pay
           toward the fine obligation. Any change in this schedule shall be made only by order of this Court



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 I~l Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, ifappropriate.




 |~1 The defendant shall pay the cost ofprosecution.
 [~| The defendant shall pay the following court cost(s):
 E) The defendant shall forfeit the defendant's interest inthe following property to the United States:
      See page 7.


 Payments shallbe applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution,(7) penalties,and (8) costs, includingcost ofprosecutionand court costs.
                 Case: 1:14-cr-00118-MRB Doc #: 112 Filed: 02/11/16 Page: 7 of 7 PAGEID #: 409

A024SB (Rev. 10/15)Judgmentin a Criminal Case
       Sheet 6B — Scheduleof Payments

                                                                                             Judgment—Page      7      of        7
DEFENDANT:                Christopher Gulley
CASE NUMBER:              1:14crl 18-2

                                           ADDITIONAL FORFEITED PROPERTY
Ruger, model LCP, .380 cal. semi-automatic handgun, SN 371116272; a S&W, model 4046, .40cal. semi-automatic pistol, SN VUV4685
loaded with 9 rounds ofammo; aNorinco, model SKS, 7.62 x 39 cal., semi-automatic rifle, SN 1731924, loaded with 8 counds ofammo; a
Sig Sauer, model P228,9mm semi-automatic hand gun, SN B120717, loaded with 10 rounds of ammo; a Derringer model D, .38 cal. pistol,
SN F10352; and a S&W model 36, .38 cal. revolver, SN J87999.
